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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

        IN RE: AQUEOUS FILM-FORMING
        FOAMS PRODUCTS LIABILITY                      MDL No. 2:18-mn-2873-RMG
        LITIGATION
                                                      CASE MANAGEMENT ORDER
                                                      NO. 15.A

                                                      This Order Relates to All Actions




                Appointment of Counsel to Defense Coordination Committee

1.     The Defense Leadership seeks to appoint Kaitlyn R. Maxwell to the Defense Coordination

       Committee (“DCC”) in light of the fact that current DCC member Jillian C. Kirn has

       withdrawn representation of National Foam, Inc. and therefore also withdraws from the

       DCC.

2.     The Court has reviewed the application materials of Kaitlyn R. Maxwell and hereby

       appoints the following attorney to the DCC:

       Kaitlyn R. Maxwell
       Greenberg Taurig, LLP
       1717 Arch Street
       Suite 400
       Philadelphia, PA 19103

3.     This designation is of a personal nature. Accordingly, the Court looks to counsel to

       undertake personal responsibility to perform the designated functions and, should counsel

       become unable to do so, the Court reserves the discretion to replace counsel on her request

       or on the Court’s own motion.

4.     All appointments to committee positions are for a period of one year. An appointee must

       apply for continued service thereafter. Ms. Maxwell’s appointment will run in March 2022

       in light of the fact that she is appointed to replace a DCC member who was appointed in

       March 2021.
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       AND IT IS SO ORDERED.


                                               s/ Richard Mark Gergel
                                               Richard Mark Gergel
                                               United States District Judge

August 16, 2021
Charleston, South Carolina
